       Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 1 of 24




 1   David Chami, Esq., AZ #027585
     PRICE LAW GROUP, APC
 2   1204 E Baseline Rd Ste 102
 3   Tempe AZ 85283
     P: 866-881-2133
 4   F: 866-401-1457
 5   david@pricelawgroup.com

 6   Attorney for Plaintiff

 7                            IN THE UNITED STATES DISTRICT COURT

 8                                FOR THE DISTRICT OF ARIZONA

 9
      MUSSALINA MUHAYMIN as Personal
10    Representative of the Estate of
11    MUHAMMAD ABDUL MUHAYMIN                    Case No.
      JR.,
12
                    Plaintiff,                   COMPLAINT
13
                                                 JURY TRIAL DEMANDED
14    v.
15
      CITY OF PHOENIX, an Arizona
16    Municipal Corporation; ANTONIO
      TARANTO; Officer OSWALD GRENIER;
17    Officer KEVIN McGOWAN; Officer
18    JASON HOBE; Officer RONALDO
      CANILAO; Officer DAVID HEAD;
19    Officer SUSAN HEIMBINGER; Officer
20    JAMES CLARK; Officer DENNIS
      LEROUS; Officer RYAN NIELSON;
21    Officer STEVEN WONG; and DOE
22    Supervisors 1-5,

23                  Defendants.
24
25                                      COMPLAINT

26          Plaintiff, MUSSALINA MUHAYMIN as Personal Representative of the Estate of

27   MUHAMMAD ABDUL MUHAYMIN JR., brings this wrongful death and survival action

28   (A.R.S. §§ 12-611, et seq. and 14-3110) pursuant to 42 U.S.C. §§ 1981, 1983, and 1988,
       Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 2 of 24




 1   and Title II of the Americans with Disabilities Act (ADA), as well as various state law

 2   claims, against Defendants, CITY OF PHOENIX, an Arizona Municipal Corporation;

 3   ANTONIO TORONTO; Officer OSWALD GRENIER; Officer KEVIN McGOWAN;

 4   Officer JASON HOBE; Officer RONALDO CANILAO; Officer DAVID HEAD; Officer

 5   SUSAN HEIMBINGER; Officer JAMES CLARK; Officer DENNIS LEROUS; Officer

 6   RYAN NIELSON; Officer STEVEN WONG; and DOE Supervisors 1-5, as follows:

 7                                 JURISDICTION AND VENUE

 8          1.      This action arises under the United States Constitution and the laws of the

 9   United States and is brought pursuant to 42 U.S.C. §§ 1981, 1983, and 1988, and Title II

10   of the Americans with Disabilities Act (ADA). The jurisdiction of this Court is invoked

11   pursuant to 28 U.S.C. §§ 1331 and 1343.

12          2.      Plaintiff further invokes this Court’s supplemental jurisdiction, pursuant to

13   28 U.S.C. § 1367, over any and all state law claims and as against all parties that are so

14   related to claims in this action within the original jurisdiction of this Court that they form

15   part of the same case or controversy.

16          3.      Venue is proper in this District under 28 U.S.C. 1391(b) in that the parties

17   reside, or at the time the events took place, resided in this judicial district and the events

18   giving rise to the Plaintiff’s claims occurred in this judicial district.

19                                              PARTIES

20          4.      The decedent, MUHAMMAD ABDUL MUHAYMIN JR. (hereinafter

21   “MUHAYMIN” or “decedent”), at all relevant times, was a resident of Maricopa County,

22   Arizona.

23          5.      The death of MUHAYMIN, at the hands of Defendants Officers, occurred in

24   Maricopa County, Arizona.

25          6.      Plaintiff, MUSSALINA MUHAYMIN, was appointed as the Personal

26   Representative of the Estate of the decedent, by the Probate Division of the Maricopa

27   County Superior Court of Arizona on October 26, 2017.

28          7.      Plaintiff, MUSSALINA MUHAYMIN, is a resident of Maricopa County,



                                                     2
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 3 of 24




 1   Arizona and the sister of the decedent.

 2          8.     In her capacity as the Personal Representative of the Estate of MUHAYMIN,

 3   Plaintiff seeks damages pursuant to the Arizona wrongful death and survival statutes,

 4   codified in A.R.S. §§ 12-611, et seq., and 14-3110 for each and every claim listed herein,

 5   on behalf of the Estate of MUHAYMIN and on behalf of his surviving next of kin. Plaintiff

 6   further seeks damages recoverable pursuant to 42 U.S.C. §§ 1981, 1983, 1988, and Title II

 7   of the Americans with Disabilities Act (ADA) for any and all Constitutional and Federal

 8   claims.

 9          9.     Plaintiff, AMIRAH MUHAYMIN, is a resident of Maricopa County,

10   Arizona.

11          10.    Defendant Officers, at all relevant times, were duly appointed officers

12   employed by the CITY OF PHOENIX Police Department, acting within the scope of their

13   employment with the CITY OF PHOENIX and under the color of State Law. The

14   individual officers are being sued in their individual and official capacities: OSWALD

15   GRENIER, KEVIN McGOWAN, JASON HOBE, RONALDO CANILAO, DAVID

16   HEAD, SUSAN HEIMBINGER, JAMES CLARK, DENNIS LEROUS, RYAN

17   NIELSON, and STEVEN WONG (hereinafter “Defendant Officers”).

18          11.    Defendant DOE SUPERVISORS 1-5 are being sued in their individual and

19   official capacities for failing to properly train, supervise, and hold accountable the

20   individual defendants. DOES SUPERVISORS 1-5 are persons whose names are presently

21   unknown to Plaintiff. When the true names of DOE SUPERVISORS 1-5 become known,

22   Plaintiff will move to amend this Complaint.

23          12.    Defendant, ANTONIO TARANTO (hereinafter “TARANTO”), at all

24   relevant times, was an employee of the CITY OF PHOENIX Parks Department, acting

25   within the scope of his employment with the CITY OF PHOENIX. This individual

26   defendant is being sued in his individual and official capacity.

27          13.    Defendant, CITY OF PHOENIX, a municipality duly incorporated under the

28   laws of the State of Arizona, is the employer and principal of the individual Defendant



                                                  3
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 4 of 24




 1   Officers, DOE SUPERVISORS 1-5, and Defendant TARANTO (the “individual

 2   defendants”). At all times relevant hereto, the CITY OF PHOENIX employed the

 3   individual defendants. The CITY OF PHOENIX is responsible for the policies, practices,

 4   and customs of its Police Department and Parks Department.

 5                                       NOTICE OF CLAIM

 6          14.    Plaintiff timely filed a Notice of Claim pursuant to A.R.S. § 12-821.01,

 7   setting forth the facts underlying Plaintiff’s claims against the Defendants named herein.

 8          15.    More than sixty days has passed since the filing of the Notice of Claim, no

 9   answer has been received by Plaintiff, and no compensation has been offered by

10   Defendants in response to this claim.

11          16.    This action has been commenced within one year of the date of the

12   occurrence giving rise to this Complaint.

13                           FACTS COMMON TO ALL COUNTS

14                              The Decedent & His Service Dog

15          1.     At the time of his death, MUHAYMIN was a 43-year-old man suffering from

16   Post-Traumatic Stress Disorder, Acute Claustrophobia, and Schizophrenia.

17          2.     In order to alleviate the symptoms of his mental disabilities, he carried a

18   service dog named “Chiquita” with him.

19                              The Community Center Incident

20          3.     On January 4, 2017, MUHAYMIN was at the Maryvale Community Center

21   with his service dog, “Chiquita.”

22          4.     MUHAYMIN attempted to enter the public men’s restroom facilities.

23          5.     Defendant TARANTO denied access to MUHAYMIN because he was

24   carrying his service dog with him.

25          6.     TARANTO, in an effort to deny MUHAYMIN access to the bathroom,

26   intentionally and forcibly stepped in MUHAYMIN’s path and bumped him away from the

27   entrance.

28          7.



                                                  4
       Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 5 of 24




 1                                  The False Report to Police

 2          8.     After the assault by TARANTO on MUHAYMIN, the Phoenix Police

 3   received a call regarding an “assault.”

 4          9.     The call to the Phoenix Police falsely alleged that MUHAYMIN had entered

 5   the Community Center and assaulted an employee.

 6          10.    The Defendant Officers responded to the call and arrived at the scene shortly

 7   thereafter.

 8          11.    Upon information and belief, the initial responding officer, Defendant

 9   Officer OSWALD GRENIER (“Officer GRENIER”), asked TARANTO if MUHAYMIN

10   had been removed from the premises.

11          12.    Upon learning that MUHAYMIN was still at the Community Center, Officer

12   GRENIER approached MUHAYMIN.

13          13.    Without regard for the federal or state laws specifically prohibiting

14   discrimination or other proof that an animal has been certified, trained, or licensed as a

15   service animal, Officer GRENIER asked MUHAYMIN to see his dog’s documentation.

16          14.    MUHAYMIN pleaded with GRENIER to allow him to use the restroom.

17          15.    GRENIER refused to allow MUHAYMIN to enter the restroom until

18   MUHAYMIN provided his personal information.

19          16.    A second officer then approached MUHAYMIN, in a threatening and

20   aggressive matter escalating tensions as he shouted at MUHAYMIN.

21          17.    After several conversations discussing what had transpired between

22   TARANTO and MUHYAMIN before the police arrived on scene, TARANTO admitted

23   that MUHAYMIN had not in fact assaulted him.

24          18.    Defendant Officers eventually allowed MUHAYMIN to use the restroom

25   after he gave them his identification information.

26                             The Arrest & Death of the Decedent

27          19.    Upon information and belief, while MUHAYMIN was using the restroom,

28   Defendant Officers ran a check on MUHAYMIN in their database.



                                                  5
       Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 6 of 24




 1          20.    Defendant Officers then escorted MUHAYMIN and “Chiquita” out of the

 2   building, and, as soon as they stepped outside, ordered MUHAYMIN to “Stop.”

 3          21.    Defendant Officers explained to MUHAYMIN that he had an outstanding

 4   warrant and was being arrested.

 5          22.    MUHAYMIN asked several times what the warrant was for.

 6          23.    Defendant Officers ignored his requests for information regarding the

 7   outstanding warrant.

 8          24.    Defendant Officers then told MUHAYMIN to put his dog down.

 9          25.    MUHAYMIN explained that he did not have anyone to watch her.

10          26.    MUHAYMIN then asked Defendant Officers to call his sister, who was his

11   legal guardian.

12          27.    Defendant Officers told MUHAYMIN they would not call his sister and that

13   he should just let the dog go.

14          28.    Defendant Officers warned MUHAYMIN that the dog would get hurt if he

15   didn’t let her go.

16          29.    Defendant Officers refused to listen to MUHAYMIN’s requests, knocked his

17   service dog out of his arms and forced him to the ground.

18          30.     Throughout the altercation, MUHAYMIN can be heard yelling, “Okay!”

19   and “I can’t breathe” as multiple Defendant Officers placed the weight of their bodies on

20   his head, back, arms, and legs.

21          31.    After wrestling MUHAYMIN to the ground, one of the Defendant Officers

22   placed his knee on MUHAYMIN’s head while another Defendant Officer placed him in

23   handcuffs.

24          32.    After placing MUHAYMIN in handcuffs, Defendant Officers took

25   MUHAYMIN out to the parking lot towards one of the police SUVs.

26          33.    At the vehicle, Defendant Officers again wrestle MUHAYMIN, who had

27   already been restrained, back down to the ground.

28          34.    Several Defendant Officers placed their weight on top of MUHAYMIN,



                                                 6
       Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 7 of 24




 1   while one Defendant Officer requested “hobbles” in order to restrict MUHAYMIN’s

 2   ability to walk.

 3             35.   Upon information and belief, due to the excessive force used by Defendant

 4   Officers, MUHAYMIN went into cardiac arrest and began vomiting.

 5             36.   Thereafter, Defendant Officers were unable to find MUHAYMIN’s pulse.

 6             37.   After MUHAYMIN was deceased, one of the Defendant Officers began

 7   CPR.

 8                                       FEDERAL CLAIMS
 9                                   COUNT I – 42 U.S.C. § 1983
10                                      EXCESSIVE FORCE
11             38.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
12   though fully alleged herein.
13             39.   At all relevant times, MUHAYMIN enjoyed and possessed a right under the
14   Fourth and Fourteenth Amendments to the United States Constitution to be free from
15   unreasonable seizure and the use of excessive, unreasonable, and unjustified force.
16             40.   At all relevant times, the individual Defendant Officers and/or DOE
17   SUPERVISORS 1-5 were acting under the color of state law in their capacity as Phoenix
18   police officers, and their acts or omissions were conducted within the scope of their official
19   duties or employment.
20             41.   Defendant Officers and/or DOE SUPERVISORS 1-5 applied unreasonable,
21   excessive, and conscious-shocking physical force to the person of MUHAYMIN, causing
22   his death, as set forth above, without legal justification or excuse.
23             42.   Defendants’ actions and use of deadly force were objectively unreasonable
24   in light of the facts and circumstances confronting them at the time and violated the
25   Constitutional rights of MUHAYMIN.
26             43.   Defendants engaged in the conduct described in this Complaint willfully,
27   maliciously, in bad faith, in reckless disregard of MUHAYMIN’s federally protected
28   rights.


                                                   7
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 8 of 24



            44.    As a result of Defendant Officers and/or DOE SUPERVISORS 1-5’s
 1
     unlawful conduct, MUHAYMIN’s estate and his statutory beneficiaries suffered harm.
 2
 3
                                   COUNT II – 42 U.S.C. § 1983
 4                               FAILURE TO PROTECT/INTERVENE
 5
            45.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
 6
     though fully alleged herein.
 7
            46.    At all relevant times, MUHAYMIN enjoyed and possessed a right under the
 8
     Fourth and Fourteenth Amendments to the United States Constitution to be free from
 9
     unreasonable seizure and the use of excessive, unreasonable, and unjustified force.
10
            47.    At all relevant times, the individual Defendant Officers were acting under
11
     the color of state law in their capacity as Phoenix police officers, and their acts or omissions
12
     were conducted within the scope of their official duties or employment.
13
            48.    Defendant Officers and/or DOE SUPERVISORS 1-5 applied unreasonable,
14
     excessive, and conscious-shocking physical force to the person of MUHAYMIN, causing
15
     his death, as set forth above, without legal justification or excuse.
16
            49.    Defendants’ actions and use of deadly force were objectively unreasonable
17
     in light of the facts and circumstances confronting them at the time and violated the
18
     Constitutional rights of MUHAYMIN.
19
            50.    Defendant Officers and/or DOE SUPERVISORS 1-5, and all of them, knew
20
     or should have known that they had a duty to protect MUHAYMIN from the application
21
     of unreasonable force to his person which was likely to cause substantial harm, and did, in
22
     fact, result in substantial harm, including his death.
23
            51.    None of the Defendant Officers and/or DOE SUPERVISORS 1-5 took
24
     reasonable steps to protect MUHAYMIN from the objectively unreasonable and
25
     conscience shocking excessive force of other Defendant Officers and/or DOE
26
     SUPERVISORS 1-5 or from the excessive force of later responding officers despite being
27
     in a position to do so. They are each therefore liable for the injuries and damages resulting
28



                                                    8
       Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 9 of 24




 1   from the objectively unreasonable and conscience shocking force of each other Defendant

 2   Officer and/or DOE SUPERVISOR.

 3             52.   Defendants engaged in the conduct described in this Complaint willfully,

 4   maliciously, in bad faith, in reckless disregard of MUHAYMIN’s federally protected

 5   rights.

 6             53.   As a result of Defendants’ failure to protect MUHAYMIN from the

 7   application of unreasonable force and/or failure to take reasonable steps to prevent the

 8   harm from occurring, MUHAYMIN’s estate and his statutory beneficiaries suffered

 9   harm.

10
                                      COUNT III – Title II ADA
11
                                         DISCRIMINATION
12
               54.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
13
     though fully alleged herein.
14
               55.   Title II of the Americans with Disabilities Act, 42 U.S.C. § 12131, et seq.
15
     (“ADA”), prohibits a public entity from discriminating against disabled persons in the
16
     provision of the entity’s services, programs, and activities.
17
               56.   The Maryvale Community Center is a public entity within the meaning of
18
     the ADA.
19
               57.   At all relevant times, MUHAYMIN was disabled within the meaning of the
20
     ADA.
21
               58.   To alleviate the symptoms of his mental impairment, MUHAYMIN carried
22
     a service dog named “Chiquita.”
23
               59.   At all relevant times, Defendant TARANTO was acting under color of state
24
     law as an employee of Defendant CITY OF PHOENIX, specifically, the Maryvale
25
     Community Center, and his acts or omissions were conducted within the scope of his
26
     official duties or employment.
27
               60.   At all relevant times, the Defendant Officers and/or DOE SUPERVISORS
28



                                                   9
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 10 of 24




 1   1-5 were acting under the color of state law in their capacity as Phoenix police officers,

 2   and their acts or omissions were conducted within the scope of their official duties or

 3   employment.

 4          61.      Under Title II of the ADA, Defendant TARANTO, the Defendant Officers,

 5   and/or DOE SUPERVISORS 1-5, were prohibited from discriminating against

 6   MUHAYMIN on the basis of his disability and were required to allow MUHAYMIN to

 7   enter and use the community center with his service dog without requiring proof that his

 8   dig was a certified or otherwise licensed service animal.

 9          62.      Defendant   TARANTO,        the   Defendant    Officers,   and/or   DOE

10   SUPERVISORS 1-5 knew or should have known that they had a duty to accommodate

11   MUHAYMIN under the ADA after they were made aware that “Chiquita” was a service

12   dog used by MUHAYMIN to alleviate his mental disabilities.

13          63.      Nonetheless, Defendant TARANTO discriminated against MUHAYMIN

14   when Defendant TARANTO attempted to force MUHAYMIN to leave the Maryvale

15   Community Center because of his dog and falsely reported to the police that MUHAYMIN

16   had assaulted him in an attempt to force MUHAYMIN to leave the Community Center.

17          64.      Nonetheless, Defendant Officers and/or DOE SUPERVISORS 1-5

18   discriminated against MUHAYMIN when they required proof that MUHAYMIN’s dog

19   was a certified or licensed service animal in violation of ADA § 32.206(c)(6), and forced

20   MUHAYMIN to leave the Maryvale Community Center because of his dog.

21          65.      Defendant CITY OF PHOENIX breached its obligations under the ADA by,

22   among other things, failing to train its employees and police officers to deal with

23   individuals with disabilities and the use of service dogs, and/or failing to implement

24   policies with respect to dealing with individuals with mental disabilities and the use of

25   service dogs.

26          66.      As a direct and proximate result of Defendant TARANTO, the Defendant

27   Officers, Defendant DOE SUPERVISORS 1-5, and Defendant CITY OF PHOENIX’s

28   breach of MUHAYMIN’s statutory rights as described herein, MUHAYMIN was killed.



                                                 10
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 11 of 24




 1   Both MUHAYMIN’s estate, and the statutory beneficiaries and family of MUHAYMIN,

 2   have sustained economic and psychological injuries and loss.

 3          67.    In addition to the monetary damages sought herein, Plaintiff also seeks

 4   injunctive relief compelling Defendant CITY OF PHOENIX to provide the training

 5   required by law so that the individual defendants are better equipped to deal with mentally

 6   disabled individuals and the use of service dogs in the future.

 7
                                    COUNT IV – 42 U.S.C. § 1983
 8
                                      SUPERVISOR LIABILITY
 9
            68.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
10
     though fully alleged herein.
11
            69.    At all relevant times, the Defendant DOE SUPERVISORS 1-5 were acting
12
     under the color of state law, and their acts or omissions were conducted within the scope
13
     of their official duties or employment.
14
            70.    The acts and omissions of the individual defendants, as set forth above,
15
     deprived MUHAYMIN of his Constitutional and federally protected rights and ultimately
16
     caused his death.
17
            71.    Defendant DOE SUPERVISORS 1-5 failed to prevent the individual
18
     defendants from – and/or otherwise directed them to – use unreasonable, excessive and/or
19
     deadly force where not objectively reasonable or necessary, refuse to protect MUHAYMIN
20
     from the application of unreasonable, excessive and/or deadly force at the hands of their
21
     fellow officers, and disregard the federally mandated requirement not to discriminate
22
     against individuals with disabilities and/or require proof that an animal is a certified or
23
     licensed service animal.
24
            72.    Defendant DOE SUPERVISORS 1-5’s failure to prevent the individual
25
     defendants from depriving MUHAYMIN of his Constitutional and federally protected
26
     rights was so closely related to the deprivation of MUHAYMIN’s rights as to be the
27
     moving force that caused his death.
28



                                                  11
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 12 of 24




 1          73.    As a result of Defendant DOE SUPERVISORS 1-5’s conduct,

 2   MUHAYMIN’s estate and his statutory beneficiaries suffered harm.

 3
                                    COUNT V – 42 U.S.C. § 1983
 4
                                      MUNICIPAL LIABILITY
 5                                     [FAILURE TO TRAIN]
 6          74.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
 7   though fully alleged herein.
 8          75.    At all relevant times, the individual defendants, including Defendant
 9   TARANTO, the Defendant Officers and/or DOE SUPERVISORS 1-5, were acting under
10   the color of state law in their capacity as Phoenix police officers and/or City employees,
11   and their acts or omissions were conducted within the scope of their official duties or
12   employment.
13          76.    The acts or omissions of the individual defendants, including Defendant
14   TARANTO, the Defendant Officers and/or DOE SUPERVISORS 1-5, as described above,
15   deprived MUHAYMIN of his federally protected rights and ultimately caused his death.
16          77.    Defendant CITY OF PHOENIX has the authority and responsibility to
17   establish policy for the City’s Police and its Community Center employees, to train and
18   oversee operations of the Police and its Community Center employees and the services
19   provided by them, and to evaluate, certify, and maintain the Police Department and the
20   Community Center’s compliance with applicable standards.
21          78.    The training policies of Defendant CITY OF PHOENIX, including the
22   Phoenix Police Department and the Community Center, were not adequate to prevent the
23   gross violation of MUHAYMIN’s federally protected rights, which led to his death.
24          79.    Defendant CITY OF PHOENIX, including the Phoenix Police Department
25   and the Community Center, were deliberately indifferent to the substantial risk that its
26   policies were inadequate to prevent violations by its employees and/or were otherwise
27   deliberately indifferent to the known or obvious consequences of its failure to train its
28   police officers and employees adequately.


                                                 12
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 13 of 24




 1          80.    The failure of Defendant CITY OF PHOENIX, including the Phoenix Police

 2   Department and the Community Center, to prevent violations of law by its employees

 3   and/or to provide adequate training, caused the deprivation of MUHAYMIN’s rights and

 4   ultimately his death; that is, Defendant CITY OF PHOENIX’s failure to prevent violations

 5   of law by its employee and/or to train those employees is so closely related to the

 6   deprivation of MUHAYMIN’s rights as to be the moving force that caused his death.

 7                            COUNT VI – 42 U.S.C. § 1983
 8                               MUNICIPAL LIABILITY
                     [UNLAWFUL POLICIES, PRACTICES, AND/OR CUSTOMS]
 9
            81.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
10
     though fully alleged herein.
11
            82.    At all relevant times, the individual defendants, including Defendant
12
     TARANTO, the Defendant Officers and/or DOE SUPERVISORS 1-5, were acting under
13
     the color of state law in their capacity as Phoenix police officers and/or City employees,
14
     and their acts or omissions were conducted within the scope of their official duties or
15
     employment.
16
            83.    The acts or omissions of the individual defendants, including Defendant
17
     TARANTO, the Defendant Officers and/or DOE SUPERVISORS 1-5, as described above,
18
     deprived MUHAYMIN of his federally protected rights and ultimately caused his death.
19
            84.    Defendant CITY OF PHOENIX has the authority and responsibility to
20
     establish policy for the City’s Police and its Community Center employees, to train and
21
     oversee operations of the Police and its Community Center employees and the services
22
     provided by them, and to evaluate, certify, and maintain the Police Department and the
23
     Community Center’s compliance with applicable standards.
24
            85.    Upon information and belief, at the time of MUHAYMIN’s death, the CITY
25
     OF PHOENIX had a policy, practice and/or custom of ignoring misconduct by officers
26
     despite knowledge of the violations by policy-making officials who knew or had reason to
27
     know of the violations.
28



                                                 13
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 14 of 24




 1            86.    Upon information and belief, Defendant CITY OF PHOENIX’s widespread

 2   policy, practice and/or custom caused the deprivation of MUHAYMIN’s rights by the

 3   individual Defendants; that is, Defendant CITY OF PHOENIX’s widespread policy,

 4   practice and/or custom is so closely related to the deprivation of MUHAYMIN’s rights as

 5   to be the moving force that caused MUHAYMIN’s death.

 6
 7                                     STATE LAW CLAIMS

 8                         COUNT VII – A.R.S. §§ 12-611 et seq., 14-3110
 9                          [WRONGFUL DEATH AND SURVIVAL ACTION]
                               EXCESSIVE FORCE (A.R.S. § 13-410)
10
              87.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
11
     though fully alleged herein.
12
              88.    As described herein, Defendant Officers and/or DOE SUPERVISORS 1-5
13
     intentionally    pinned    MUHAYMIN         down,    putting   unreasonable     pressure    on
14
     MUHAYMIN’s head, back, arms and legs, after he was already restrained, causing his
15
     death.
16
              89.    Under ARS § 13-410, the use of deadly force by a peace officer against
17
     another is justified only when the peace officer reasonably believes that it is necessary (1)
18
     to defend himself or a third person from what the peace officer reasonably believes to be
19
     the use or imminent use of deadly physical force; (2) to effect an arrest or prevent the
20
     escape from custody of a person whom the peace officer reasonably believes (a) has
21
     committed, attempted to commit, is committing or is attempting to commit a felony
22
     involving the use or a threatened use of a deadly weapon, (b) is attempting to escape by
23
     use of a deadly weapon, (c) through past or present conduct of the person which is known
24
     by the peace officer that the person is likely to endanger human life or inflict serious bodily
25
     injury to another unless apprehended without delay, or (d) is necessary to lawfully suppress
26
     a riot if the person or another person participating in the riot is armed with a deadly weapon.
27
              90.    None of the above situations applied, which would justify the use of deadly
28



                                                   14
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 15 of 24




 1   force.

 2            91.    Nonetheless, Defendant Officers and/or DOE SUPERVISORS 1-5 applied

 3   unreasonable excessive force to the person of MUHAYMIN, causing his death, as set forth

 4   above, without legal justification or excuse.

 5            92.    Defendants’ actions and use of deadly force, as described herein, were

 6   objectively unreasonable in light of the facts and circumstances confronting them at the

 7   time.

 8            93.    As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

 9   statutory beneficiaries suffered harm.

10
11                        COUNT VIII – A.R.S. §§ 12-611 et seq., 14-3110
                           [WRONGFUL DEATH AND SURVIVAL ACTION]
12                                        BATTERY
13            94.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
14   though fully alleged herein.
15            95.    As   described   herein,   Defendant    TARANTO       intentionally   denied
16   MUHAYMIN access to the Community Center bathroom because of his service dog, by
17   stepping in his path and bumping him away from the entrance, causing a harmful or
18   offensive contact with MUHAYMIN.
19            96.    As described herein, Defendant Officers and/or DOE SUPERVISORS 1-5
20   intentionally    pinned    MUHAYMIN         down,    putting   unreasonable    pressure   on
21   MUHAYMIN’s head, back, arms and legs, after he was already restrained, causing a
22   harmful or offensive contact with MUHAYMIN. As a direct and proximate result of this
23   harmful or offensive contact, MUYAMIN died.
24            97.    Defendant TARANTO, Defendant Officers and/or DOE SUPERVISORS 1-
25   5’s acts constituted a battery upon MUHAYMIN in that the above described bodily contact
26   was intentional, unauthorized, or grossly offensive in nature.
27            98.    The actions of Defendant TARANTO, Defendant Officers and/or DOE
28



                                                     15
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 16 of 24




 1   SUPERVISORS 1-5 were intentional, reckless, and unwarranted, and without any just

 2   cause or provocation.

 3          99.    As a direct and proximate result of Defendant TARANTO, Defendant

 4   Officers and/or DOE SUPERVISORS 1-5’s conduct, MUHAYMIN was subjected to great

 5   physical and emotional pain and humiliation, was deprived of his liberty, and was

 6   ultimately killed.

 7          100.   The conduct described in this Complaint was undertaken by Defendant

 8   TARANTO, Defendant Officers and/or DOE SUPERVISORS 1-5 within the scope of their

 9   employment and under color of law such that their employer, Defendant CITY OF

10   PHOENIX, is vicariously liable for their actions.

11          101.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

12   statutory beneficiaries suffered harm.

13
14                          COUNT IX – A.R.S. §§ 12-611 et seq., 14-3110
                             [WRONGFUL DEATH AND SURVIVAL ACTION]
15                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
16
            102.   Plaintiff incorporate by reference all other paragraphs in this Complaint as
17
     though fully alleged herein.
18
            103.   Defendant TARANTO’s conduct, in denying MUHAYMIN access to the
19
     Community Center bathroom because of his service dog, stepping in his path and bumping
20
     him away from the entrance, and making a false report to the police that MUHAYMIN had
21
     assaulted him in order to force MUHAYMIN to leave the Community Center, without
22
     provocation or justification, was extreme, outrageous and utterly intolerable in a civilized
23
     society; conduct which excessed all reasonable bounds of decency.
24
            104.   Defendant Officers and/or DOE SUPERVISORS 1-5’s conduct, in
25
     disregarding MYUHAYMIN’s pleas to get someone to watch his dog before placing him
26
     under arrest, threatening MNUHAYMIN, telling him his dog would “get hurt” if he did let
27
     her go, and pinning MUHAYMIN down, putting unreasonable pressure on MUHAYMIN’s
28



                                                 16
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 17 of 24




 1   head, back, arms and legs, after he was already restrained, without provocation or

 2   justification, was extreme, outrageous and utterly intolerable in a civilized society; conduct

 3   which excessed all reasonable bounds of decency.

 4          105.   Defendant TARANTO, Defendant Officers and/or DOE SUPERVISORS 1-

 5   5’s conduct, as described above, was intended to and did cause severe emotional distress

 6   to MUHAYMIN.

 7          106.   The conduct of Defendant TARANTO, Defendant Officers and/or DOE

 8   SUPERVISORS 1-5 was the direct and proximate cause of injury and damage to

 9   MUHAYMIN and violated MUHAYMIN’s statutory and common law rights as

10   guaranteed by the laws and Constitution of the State of Arizona.

11          107.   As a result of the foregoing, MUHAYMIN was deprived of his liberty, was

12   subjected to serious physical and emotional pain and suffering, and was ultimately killed.

13          108.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

14   statutory beneficiaries suffered harm.

15
16                       COUNT X – A.R.S. §§ 12-611 et seq., 14-3110
                          [WRONGFUL DEATH AND SURVIVAL ACTION]
17                      NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
18
            109.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
19
     though fully alleged herein.
20
            110.   Defendant TARANTO’s conduct, in denying MUHAYMIN access to the
21
     Community Center bathroom because of his service dog, stepping in his path and bumping
22
     him away from the entrance, and making a false report to the police that MUHAYMIN had
23
     assaulted him in order to force MUHAYMIN to leave the Community Center, without
24
     provocation or justification, was careless and negligent as to the emotional health of
25
     MUHAYMIN, and caused severe emotional distress to MUHAYMIN.
26
            111.   Defendant Officers and/or DOE SUPERVISORS 1-5’s conduct, in
27
     disregarding MYUHAYMIN’s pleas to get someone to watch his dog before placing him
28



                                                  17
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 18 of 24




 1   under arrest, threatening MNUHAYMIN, telling him his dog would “get hurt” if he did let

 2   her go, and pinning MUHAYMIN down, putting unreasonable pressure on MUHAYMIN’s

 3   head, back, arms and legs, after he was already restrained, without provocation or

 4   justification, was careless and negligent as to the emotional health of MUHAYMIN, and

 5   caused severe emotional distress to MUHAYMIN.

 6          112.   The conduct of Defendant TARANTO, Defendant Officers and/or DOE

 7   SUPERVISORS 1-5 was the direct and proximate cause of injury and damage to

 8   MUHAYMIN and violated MUHAYMIN’s statutory and common law rights as

 9   guaranteed by the laws and Constitution of the State of Arizona.

10          113.   As a result of the foregoing, MUHAYMIN was deprived of his liberty, was

11   subjected to serious physical and emotional pain and suffering, and was ultimately killed.

12          114.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

13   statutory beneficiaries suffered harm.

14                         COUNT XI – A.R.S. §§ 12-611 et seq., 14-3110
15                         [WRONGFUL DEATH AND SURVIVAL ACTION]
                                        NEGLIGENCE
16
            115.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
17
     though fully alleged herein.
18
            116.   Defendant Officers and/or DOE SUPERVISORS 1-5, while acting as agents
19
     and employees for Defendant CITY OF PHOENIX, owed a duty to MUHAYMIN to
20
     perform their duties as officers of the law without the use of excessive force.
21
            117.   Defendant TARANTO, Defendant Officers and/or DOE SUPERVISORS 1-
22
     5, while acting as agents and employees for Defendant CITY OF PHOENIX, owed a duty
23
     to MUHAYMIN not to discriminate against him in the provision of public services because
24
     of his service dog.
25
            118.   Defendant Officers and/or DOE SUPERVISORS 1-5’s use of force upon
26
     MUHAYMIN when they had no lawful authority to use excessive and/or deadly force
27
     against MUHAYMIN, constitutes negligence for which Defendant Officers and/or DOE
28



                                                  18
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 19 of 24




 1   SUPERVISORS 1-5 are individually liable.

 2          119.   Defendant TARANTO, Defendant Officers and/or DOE SUPERVISORS 1-

 3   5’s actions, in forcing MUHAYMIN to leave the Community Center because of his service

 4   dog or provide proof that his service dog was otherwise licensed or certified, constitutes

 5   negligence for which Defendant TARANTO, Defendant Officers and/or DOE

 6   SUPERVISORS 1-5 are individually liable.

 7          120.   In taking the actions as described above, Defendant TARANTO, Defendant

 8   Officers and/or DOE SUPERVISORS 1-5 breached their duty to refrain from such

 9   unreasonable and indifferent conduct.

10          121.   As a direct and proximate result of Defendant TARANTO, Defendant

11   Officers and/or DOE SUPERVISORS 1-5’s conduct, MUHAYMIN was subjected to great

12   physical and emotional pain and humiliation, was deprived of his liberty, and was

13   ultimately killed.

14          122.   The conduct described in this Complaint was undertaken by Defendants

15   within the scope of their employment and under color of law such that their employer,

16   Defendant CITY OF PHOENIX, is vicariously liable for their actions.

17          123.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

18   statutory beneficiaries suffered harm.

19                        COUNT XII – A.R.S. §§ 12-611 et seq., 14-3110
20                         [WRONGFUL DEATH AND SURVIVAL ACTION]
                                    GROSS NEGLIGENCE
21
            124.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
22
     though fully alleged herein.
23
            125.   Defendant Officers and/or DOE SUPERVISORS 1-5, while acting as agents
24
     and employees for Defendant CITY OF PHOENIX, owed a duty to MUHAYMIN to
25
     perform their duties as officers of the law without the use of excessive force.
26
            126.   Defendant TARANT, Defendant Officers and/or DOE SUPERVISORS 1-5,
27
     while acting as agents and employees for Defendant CITY OF PHOENIX, owed a duty to
28



                                                  19
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 20 of 24




 1   MUHAYMIN not to discriminate against him in the provision of public services because

 2   of his service dog.

 3          127.    Defendant Officers and/or DOE SUPERVISORS 1-5’s use of force upon

 4   MUHAYMIN when they had no lawful authority to use excessive and/or deadly force

 5   against MUHAYMIN constitutes reckless and/or gross negligence for which Defendant

 6   Officers and/or DOE SUPERVISORS 1-5 are individually liable.

 7          128.    Defendant TARANTO, Defendant Officers and/or DOE SUPERVISORS 1-

 8   5’s actions, in forcing MUHAYMIN to leave the Community Center because of his service

 9   dog or provide proof that his service dog was otherwise licensed or certified, constitutes

10   reckless and/or gross negligence for which Defendant TARANTO and Defendant Officers

11   are individual liable.

12          129.    The actions of Defendant TARANTO, Defendant Officers and/or DOE

13   SUPERVISORS 1-5, as described above, were taken with such reckless disregard for the

14   life and safety of MUHAYMIN so as to be a conscious violation of MUHAYMIN’s rights

15   to life and liberty.

16          130.    As a direct and proximate result of Defendant TARANTO, Defendant

17   Officers and/or DOE SUPERVISORS 1-5’s conduct, MUHAYMIN was subjected to great

18   physical and emotional pain and humiliation, was deprived of his liberty, and was

19   ultimately killed.

20          131.    The conduct described in this Complaint was undertaken by Defendants

21   within the scope of their employment and under color of law such that their employer,

22   Defendant CITY OF PHOENIX, is vicariously liable for their actions.

23          132.    As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

24   statutory beneficiaries suffered harm.

25                 COUNT XIII – ARIZONA CIVIL RIGHTS ACT (“ACRA”)
26                                  DISCRIMINATION
            133.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
27
     though fully alleged herein.
28



                                                  20
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 21 of 24




 1         134.    The Arizona Civil Rights Act, (“ACRA”), A.R.S. §§ 41-1492, et seq.,

 2   incorporates by reference the provisions of its analogous federal statute, the ADA.

 3         135.    The Maryvale Community Center is a public entity within the meaning of

 4   the ACRA, as incorporated by the ADA.

 5         136.    At all relevant times, MUHAYMIN was disabled within the meaning of the

 6   ACRA, as incorporated by the ADA.

 7         137.    To alleviate the symptoms of his mental impairment, MUHAYMIN carried

 8   a service dog named “Chiquita.”

 9         138.    To alleviate the symptoms of his mental impairment, MUHAYMIN carried

10   a service dog named “Chiquita.”

11         139.    At all relevant times, Defendant TARANTO was acting under color of state

12   law as an employee of Defendant CITY OF PHOENIX, specifically, the Maryvale

13   Community Center, and his acts or omissions were conducted within the scope of his

14   official duties or employment.

15         140.    At all relevant times, the Defendant Officers and/or DOE SUPERVISORS

16   1-5 were acting under the color of state law in their capacity as Phoenix police officers,

17   and their acts or omissions were conducted within the scope of their official duties or

18   employment.

19         141.    Nonetheless, Defendant TARANTO discriminated against MUHAYMIN

20   when Defendant TARANTO attempted to force MUHAYMIN to leave the Maryvale

21   Community Center because of his dog and falsely reported to the police that MUHAYMIN

22   had assaulted him in an attempt to force MUHAYMIN to leave the Community Center.

23         142.    Nonetheless, Defendant Officers and/or DOE SUPERVISORS 1-5

24   discriminated against MUHAYMIN when they required proof that MUHAYMIN’s dog

25   was a certified or licensed service animal in violation of the ACRA and forced

26   MUHAYMIN to leave the Maryvale Community Center because of his dog.

27         143.    Defendant CITY OF PHOENIX breached its obligations under the ACRA

28   by, among other things, failing to train its employees and police officers to deal with



                                                 21
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 22 of 24




 1   individuals with disabilities and the use of service dogs, and/or failing to implement

 2   policies with respect to dealing with individuals with mental disabilities and the use of

 3   service dogs.

 4          144.     As a direct and proximate result of Defendant TARANTO, the Defendant

 5   Officers, Defendant DOE SUPERVISORS 1-5, and Defendant CITY OF PHOENIX’s

 6   breach of MUHAYMIN’s statutory rights as described herein, MUHAYMIN was killed.

 7   Both MUHAYMIN’s estate, and the statutory beneficiaries and family of MUHAYMIN,

 8   have sustained economic and psychological injuries and loss.

 9          145.     In addition to the monetary damages sought herein, Plaintiff also seeks

10   injunctive relief compelling Defendant CITY OF PHOENIX to provide the training

11   required by law so that the individual defendants are better equipped to deal with mentally

12   disabled individuals and the use of service dogs in the future.

13                    COUNT XIV – A.R.S. §§ 12-611 et seq., 14-3110
14                     [WRONGFUL DEATH AND SURVIVAL ACTION]
               NEGLIGENT HIRING, SUPERVISION, RETENTION, AND/OR TRAINING
15
            146.     Plaintiff incorporates by reference all other paragraphs in this Complaint as
16
     though fully alleged herein.
17
            147.     As described herein, CITY OF PHOENIX and/or DOE Supervisors 1-5 were
18
     negligent in their hiring, supervision, retention, and/or training of one or more Defendant
19
     Officers and Defendant TARANTO.
20
            148.     The acts and conduct of Defendant Officers and Defendant TARANTO as
21
     described in this Complaint were the direct and proximate cause of the injuries and
22
     damages to MUHAYMIN, and violated MUHAYMIN’s statutory and common law rights
23
     as guaranteed by the law and Constitution of the State of Arizona.
24
            149.     As a result of the conduct described herein, MUHAYMIN’s estate and his
25
     statutory beneficiaries suffered harm.
26
27
28



                                                   22
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 23 of 24




 1                                   PRAYER FOR RELIEF

 2         WHEREFORE, the Plaintiff demands judgment against the Defendants, and each
 3   of them, for the violations of MUHAYMIN’s Constitutional and statutory rights as
 4   follows:
 5      1. For compensatory damages recoverable under A.R.S. §§ 12-611, et seq., and 14-
 6         311 in an amount of not less than Ten Million Dollars ($10,000,000) or such other
 7         amount as may be deemed fair and just by the trier of fact;
 8              a. Special damages include, but are not limited to, loss of income and
 9                 services, medical fees and expenses, and funeral and burial expenses,
10                 incurred on behalf of MUHAYMIN;
11              b. General damages include, but are not limited to, loss of consortium, pain
12                 and suffering, loss of enjoyment of life, and wrongful death;
13      2. For punitive damages against the individual Defendants in an amount to be
14         determined by the trier of fact;
15      3. For pre-judgment and post-judgment interest;
16      4. For attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and
17      5. For such other and further relief as the Court deems just and proper.
18
        Respectfully submitted this 8th day of December 2017,
19
                                                      PRICE LAW GROUP, APC
20
21                                                    /s/ David Chami
                                                      David Chami, AZ #027585
22
                                                      david@pricelawgroup.com
23
24
25
26
27
28



                                                 23
      Case 2:17-cv-04565-SMB Document 1 Filed 12/08/17 Page 24 of 24




 1                                       JURY DEMAND

 2         Plaintiff hereby demands trial by jury for all issues and claims raised in this

 3   Complaint.

 4         Respectfully Submitted,
 5
     Dated: December 8, 2017                          PRICE LAW GROUP, APC
 6
 7                                                    /s/ David Chami
                                                      David Chami, AZ #027585
 8                                                    david@pricelawgroup.com
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                 24
